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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


WESLEY WOOD,                       )
                                   )
     Petitioner,                   )
                                   )
           v.                      )         1:06cr292-12(JCC)
                                   )         1:14cv825
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )


                 M E M O R A N D U M          O P I N I O N

           This matter is before the Court on Petitioner Wesley

Wood’s Motion to Vacate, Set Aside, or Correct Sentence pursuant

to 28 U.S.C. § 2255 (“Motion”).            [Dkt. 355.]   For the following

reasons, the Court will deny the Motion.

                             I.   Background

           On November 3, 2006, Petitioner Wesley Wood

(“Petitioner”) pled guilty to Counts One and Fifteen of a

twenty-five count indictment.       Count One charged Petitioner with

conspiracy to distribute fifty (50) grams or more of cocaine

base, in violation of 21 U.S.C. §§ 846 and 841(a)(1).            Count

Fifteen charged Petitioner with possession with intent to

distribute five (5) or more grams of cocaine base, and a mixture

and substance containing cocaine, in violation of 21 U.S.C. §

841(a)(1).


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            On January 26, 2007, Petitioner was sentenced to life

imprisonment on Count One, and to 480 months on Count Fifteen to

run concurrent.    On March 13, 2008, Petitioner filed a Motion

for Retroactive Application of the Sentencing Guidelines for

Crack Cocaine Offenses pursuant to 18 U.S.C. § 3582.           [Dkt.

207.]   The Government agreed that Petitioner was eligible to

receive a reduction pursuant to the retroactive application of

the amended guidelines.      [Dkt. 220.]     On May 6, 2008, the Court

reduced Petitioner’s sentence on Count One from life

imprisonment to 360 months, and on Count Fifteen from 480 months

to 360 months, to run concurrent.         [Dkt. 224.]   Otherwise, the

judgment from January 26, 2007 remains in full force and effect.

            On June 20, 2014, Petitioner filed the instant Motion

now before the Court.     [Dkt. 355.]      The Government opposed

Petitioner’s Motion.     [Dkt. 360.]      On December 23, 2014, the

Court issued a show cause order.         (12/23/14 Order [Dkt. 361].)

This show cause order directed Petitioner to demonstrate, if

possible, that the one-year statute of limitations does not

apply or that he is entitled to equitable tolling.          (Id.)      He

was given thirty days to file such a response, but as of the

date of this Memorandum Opinion, Petitioner has failed to file a

response.    The time to so file has now expired.

                              II. Analysis

            The Antiterrorism and Effective Death Penalty of 1996

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(“AEDPA”) provides that a federal district court must dismiss

any § 2255 motion that is filed more than one year after the

date on which: (1) the judgment of conviction becomes final; (2)

the impediment to making a motion, created by unlawful

governmental action, is removed and the petitioner was prevented

from making a motion by such action; (3) the United States

Supreme Court initially recognized the constitutional right

asserted, if the right has been newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral

review; or (4) the facts supporting the claims presented could

have been discovered with due diligence.         28 U.S.C. § 2255(f).

A petitioner must demonstrate that the petition was timely filed

under § 2255 or that his untimely petition may be salvaged by

equitable tolling principles.       See Hill v. Braxton, 277 F.3d

701, 707 (4th Cir. 2002) (requiring district courts to furnish

habeas petitioners an opportunity to provide facts contesting

the application of the statute of limitations); United States v.

Sexton, 56 F. App’x 202, 203 (4th Cir. 2003) (applying Hill to a

§ 2255 Motion).

           Here, Petitioner’s claim is based on Alleyne v. United

States, which the Supreme Court decided on June 17, 2014.            133

S. Ct. 2151 (2013).     The statute of limitations, therefore,

expired on June 17, 2014.      Petitioner filed the instant motion

on June 20, 2014.     (Pet.’s Mem. in Supp. [Dkt. 355] at 8); see

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Houston v. Lack, 487 U.S. 266, 269-72 (1988) (articulating the

“prison mailbox rule,” which states that for purposes of

calculating the statute of limitations, a petition is deemed to

be filed when a prisoner delivers his petition to prison

officials).    Therefore, Petitioner’s Motion is untimely.

           Furthermore, Petitioner’s Motion fails to demonstrate

any basis for equitable tolling.         A petitioner seeking equitable

tolling must show (1) that he diligently pursued his rights and

(2) that some extraordinary circumstance stood in the way of his

timely filing.    Holland v. Florida, 560 U.S. 631, 663 (2010).

“The diligence required for equitable tolling purposes is

‘reasonable diligence, not ‘maximum feasible diligence.’”            Id.

at 653 (citation omitted).      Because Petitioner failed to respond

to the show cause order, the Court also finds that equitable

tolling is not warranted.      As such, the Motion is time barred

and must be denied.

                             III. Conclusion

           For the foregoing reasons, the Court will deny

Petitioner’s Motion.     An appropriate Order will issue.




                                                /s/
February 4, 2015                         James C. Cacheris
Alexandria, Virginia           UNITED STATES DISTRICT COURT JUDGE



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